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 8                            IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
       IN RE PORTFOLIO RECOVERY          )            Case No.: 3:11-md-02295-JAH-BGS
11     ASSOCIATES, LLC TELEPHONE         )
       CONSUMER PROTECTION ACT           )            ORDER GRANTING JOINT MOTION
12     LITIGATION                        )            TO DISMISS WITH PREJUDICE
                                         )            PURSUANT TO FED. R. CIV. PROC.
13                                       )            41(a)(1)(A)(ii)
                                         )
14                                       )            Judge: Hon. John A. Houston
                                         )
15     This Document Relates to GRIEF V. )            Magistrate Judge: Hon. Bernard G. Skomal
       PORTFOLIO ASSOCIATES, LLC, )
16     Case No.: 3:14-cv-02865-JAH-BGS )
17              The Parties have filed a Joint Motion to Dismiss With Prejudice Pursuant to
18     Fed. R. Civ. Proc. 41(a)(1)(A)(ii). Good cause appearing, the Court GRANTS the
19     Parties’ joint motion to dismiss and this action is hereby dismissed with prejudice
20     in its entirety. Each party shall bear their/its own attorneys’ fees and costs.
21              IT IS SO ORDERED.
22

23     DATED:           July 23, 2018
                                                       HONORABLE JOHN A. HOUSTON
24                                                     United States District Court Judge
                                                       Southern District of California
25




                                      ORDER GRANTING JOINT MOTION TO DISMISS

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